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                       IN THE UNITED STATES DISTRICT COURT FOR THE
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                                 EASTERN DISTRICT OF CALIFORNIA
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         GERALD CARLIN, et al.,              )              NO. 1:09-CV-00430-AWI-DLB
11                                           )
                           Plaintiffs,       )              ORDER VACATING
12                                           )              AUGUST 31, 2009 HEARING
               v.                            )              DATE AND TAKING MATTER
13                                           )              UNDER SUBMISSION
         DAIRY AMERICA, INC., et al.,        )
14                                           )
                           Defendants.       )
15       ____________________________________)
16
17            Defendants’ motion to dismiss has been set for hearing in this case on August 31, 2009.
18   The court has reviewed the papers and has determined that this matter is suitable for decision
19   without oral argument. Local Rule 78-230(h). Therefore, IT IS HEREBY ORDERED that the
20   previously set hearing date of August 31, 2009, is VACATED, and the parties shall not appear at
21   that time. As of August 31, 2009, the court will take the matter under submission, and will
22   thereafter issue its decision.
23
24   IT IS SO ORDERED.
25   Dated:      August 26, 2009                       /s/ Anthony W. Ishii
     h2ehf                                    CHIEF UNITED STATES DISTRICT JUDGE
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